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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF GEORGIA
                                    COLUMBUS DIVISION


JORDAN OUTDOOR ENTERPRISES, LTD.,                   )
                                                    )
                 Plaintiff,                         )
                                                    )
v.                                                  )      Civil Action No. 4:18-cv-00053
                                                    )
YEEZY APPAREL, LLC, and                             )
UNKNWN, LLC,                                        )
                                                    )
                 Defendants.                        )
                                                    )

             UNOPPOSED MOTION TO DISMISS DEFENDANT UNKNWN, LLC
                              WITH PREJUDICE

         Plaintiff Jordan Outdoor Enterprises, Ltd. (“JOEL”) and Defendant UNKNWN, LLC

(“UNKNWN”) by separate agreement have agreed to settle the claims and defenses between

them and have agreed to dismiss the same between them.

         Accordingly, pursuant to Federal Rule of Civil Procedure 41(a)(2), JOEL hereby moves

to dismiss with prejudice all claims against UNKNWN from this action. Defendant UNKNWN

does not oppose this motion. JOEL and UNKNWN agree that both parties shall bear their own

costs, expenses, and attorneys’ fees as to the claims and defenses at issue between JOEL and

UNKNWN only.



         Dated: July 13, 2018               Respectfully submitted,

                                            /s/ Robert Kohse
                                            Daniel J. Warren
                                            Georgia Bar No. 738,240
                                            Ann G. Fort
                                            Georgia Bar No. 269,995
                                            Robert R.L. Kohse



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                                        Counsel for Plaintiff
                                        Jordan Outdoor Enterprises, Ltd.




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on July 13, 2018, a true and correct copy of the

foregoing was served electronically on the following:

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                                               /s/ Robert Kohse




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